Case 1:13-cv-00118-SWS Document 45-3 Filed 06/19/14 Page 1 of 9

EXHIBIT C

Case 1:13-cv-00118-SWS

Q5/21/2813 18:93 g6ad340da8 BOX 1580 SARATOGA Wy

re
7

A e jp Tan
- Best Vice President
> *  gqiay 234-4210 OMRea
(442) 336 1898 Fax
BNY MELLON Joba lantzg@hnyrantion.com
WEACTH MANAGEMENT

April 2, 2032

wit, Richard B. Gillespie, Ditector .
Phe Internattonal Group for Historical Alrovatt Recovery 3
$912 Fawkes Drive 19308 70 a i
Vilmington, Delaware ~ hy
_—e Tie ma

Dear Mr. Giilespie,

This letter confirms that Mr, Timothy Metion made & charitable gtft on 11,900 shares of
Philp Morrie Jiéemsational sosmmion stack 10 The internatlonat Growp foe Historieal
Alveraft Recovery. Mr. Mattori's wish ts that the funda He applied towards the dost of the

NUKU Vil Expedition.

In accordance with inatruotions, we deliverad £1,900 shares of Phillp Morris Tntertiattonal
corraan stock to your organization on March 36, 2012 as follows:

Broker: Boenning & Yeattergood
DIO Number: 0141 ss +h .
‘Account Name: The Intemational Group for Higtorloal Alrcraft Recovery
n., amAecount Number; 4266-8906 ,
Attention: Tim Donahue (610) 832-5261

The price vange.at which this stock traded on Maroh 30, 2012, was a low of $87.07 and ¢
high of $88.96, reaulting in a moan price of $87.97, The total gift yalue was $1,016,843.

Please sign and return the enolosed copy of this letter econfitming the Instructions ta
trauiafer the stock and acknowledging wacdipt of the funds, You may acknowledge the
ait by verifying thera were 00 goods or services provided by The Intermattonal Group for
Bistovical Airoraét Recovery In exchange for this contribution to:

Me. Timothy Mellon
P.G, Box 1500 aft

Saratoga, WY 82334 6 yoo" yar
ce a}
Stucerely, HP a det

Document 45-3 Filed 06/19/14 Page 2 of 9

PAGE @d

24/17/2012 88196 4422961693 RPCNG PF PAGS wurua

oof ae | OF
| ver as
Mike ota

First Vive Prosident,

ae te Ate Be
WWE . f ql ae
cot Timathy Mellon at wee , if

Signatures eo

Daa ENY Atallen Genter, Sule 3723, Pitighum, PA 132880001

Mellon-00001

Case 1:13-cv-00118-SWS Document 45-3 Filed 06/19/14 Page 3 of 9

85/21/2813 16:63 8664340488 BOX 1588 SARATOGA WY PAGE 62°

25 March 2012

Tim Mellon
Vie Fax 307.745.0416 -

Tim,

It was great chatting with you last night. "Hl confess Twas a bit puzzled by your
preference for phone and fax rather than email ... until ’'d had a chance to do a Ifitle
research. No problem. | totally get ft.

By the way, [ have not mentioned your name and your interest in possibly helping
the project to anyone but my wife Pat, and will not, unless and until you authorize
such disclosure.

Tomorrow, Monday, I'll send you, via UPS for next day delivery on Tuesday:

4 a DVD of the Discovery Channel show about our work
¢ aDVD ofa short Alm | put together tliled “An Aerial Tour of Ntkumaroro"

o asigned copy of my book Minding Amelia — The True Story of the Earhart Disap-
pedraiice

® acollector’s folio of “The Harney Drawings” of Earhart's Electra

ry aud anything else] can fit in the box,

I'l also keep-you up to date, via fax, on search plan and logistical developments.

For soyne reason, our fax machine sends faxes fust fine but doesn’t want to recelve
them. We'll get that sorted out but, meanwhile, don’t hesitate to phone with anv
questions or comments. You can reach me on my mobile day or night at 302.584.2543.

Best regards

Pere ~

Richard E. Gillespie

www.tigharorg

Melfon-00002

Case 1:13-cv-00118-SWS Document 45-3 Filed 06/19/14 Page 4 of Z

98/84/2812 88:11 6684340488 BOX 1580 SARATOGA WY . 81

memoran dit

A

TO: Ric Gillespie
302.994.7945 (fax)
UD, $24 6010 Fax)
FROM: Tim Melion_y
307,745, 416 (fax)

DATE: 2012.0 04

RE: promissory Note

Ric, herewith please find the Promissory’ Note relativa to the
$430, 000 loan, I asked that three separate. Guarantors be provided
for, in case folks wanted to share the load. Only one is necessary,
of course,

‘When you fax me pack the signed copy I will have the wash Zorwarded

to the account you need to specify (along with the ABA routing).
Please send me the original through the mail.

EXHIBIT

YS
7.

Case 1:13-cv-00118-SWS Document 45-3 Filed 06/19/14

o8/Gd/2812 98:11

AUG

8664348486 BOX 1580 SARATOGA WY

03-72 FRI 01:43 Pa FAX HO. 02

PROMISSORY NOTE WITH PERSONAL GUARANTIES

Daté: Auguat J, 2012
U88430,000.00

For vahio received, the wndersigned, THE INTERNATIONAL
GROUP FOR HISTORIC AIRCKAFT RECOVERY, a Delaware Non
Profit Foundation, hereinafter veforred to ag "Makar", promises to pay to the
ordor of TIMOTHY MELLON, hereinafter referred tn na "Holdet, the sum of
¥owr Hundved Thirty Thousantl Dollars (§430,000,00), together with interest.
at (he rate of five percont (G%) per annum. .

Interest on the unpaid balance is payable monthly beginning on the 1+
day of September, 2012 and on the 1 day of each month thereafler at the
rate of five percent (6%) per aunum. Principal igpayable as followas ~

A.  Arefund is due to the Maker from the Phoantx Group of at least
$170,000.00. ‘The enthe refund net of travel costs due the
Phoondx Group shall be paid to Holder and applied to principal,

BR. Any amounts yoecived fram existing pledges te tho Earhar,
project shall be paid to Holder and applied toprincipal.

O. Fifty percont (60%) of all other revenuos of any kind received hy
Makor including but not limited to donationa shall be paid to
Holder and applied to prinelpal,

D. ‘The entica balance of principal and interest then unpaid shall!
becore due and payable on the 308 day of June, 2015,
~ “ALL or any partion of the principal or all of the principal due on this note
may be prepald at any time. : -

Failure to pay intovest on the unpaid balance monthly and/or fatlure to
pay principyl according to the terms herenf shall entitle the holder herecf to
declave the whole of the wnpaid balance on thig note due and payable on
damand,

In the event this note is placed in the hands of an attorney for
collection, tho maker or makers and endorsers of this note agree to pay the
costs of collection, together with a reasonable attorney's fee, suoli costa and
atlorney's fees to be included in any judgment secured hereunder.

If there shall be any default in the making of payments of principal and
interest as horoin provided, or any part thereof, the sum not paid shall bear
interest thereafter at the rate of eighteen percent (18%) per annum until
paid,

Thie Promissory Note and sl) proceedings pertaining thereto shail bo |

govemted and construed according to the laws of the State of Wyoming. All
pronouns and any variations thereof shall ba deemed to refer to the
wasculino, ferdinino, neuter, singular or plural, as the identity of the person
ov pereons or entity or entitics may require. It is mutually agraed botween
tha partica hareto that tine of payment shall be of the easance of this note,
The mokoy or makers and endorsers of this note hereby savorally accept tho
conditions heroof and oxprossly waive presentment for payment, protest and

. PROMIAZARY NOTE With VANSONAL GUAKANT IFA
THE INFERWATIONNL, G nour mh HISTORIC ANICHAPT RECOVRAY
age bal

Page 5 of 9

AGE 2

88/84/261@S Grd ih3-CVphias4eeeBWS Document rb®-Bsed- dark wGALG/14 Page 6 OPABE 93
AUG-O3-12 FRI 01:43 Pt FAX WO, P, 03

natice of protest for nonpayanent hereof and ali defenses on the ground of any
extension of time of paymont that may he given by the holder hereof tc them.

MAKER:

THE INTERNATIONAL GROUP
FOR HISTORIG AIRCRAFT RECOVERY

By:

Richard ©. Gillespie
Executive Director

' 2612 Fawkas Drive
Wilmington, Delaware 18805

STATE OF)

195
COUNTY OF oo)

This {uetrument was ucknowledged before me on the __ day af
._______, 2012 by Richard E, Gillespie aa Executive Director of THE
INTERNATIONAL GROUP FOR HISTORIC AIRCRAFT RECOVERY,

Delawure Non Profit Foundation. ’

.

Notary Publis

My commission expires;

oe ae

PERSONAL GUARANTIES

The undersigned, porgonally and individually and jointly and soverally,
guaranty payment to holder, of all Habilities and indebtedness of maker
under the torms and condilions of this promissory noté. Holder shall not be

_ required {9 oxhaust its recourse or take any action against maker before
baing entitled to paymont by the undersigned of all amounts wuarantced,
Notice of default on the pact of makor is waived and the undersigned agree to
remain bownd in apite of any extensions, renewals, modifications, or
comproniisca of any indebtedness, liability, or obligation of the maker under
the terniy of this prominsory note,

Each undersigned Individual exocuting this Personal Guaranty
ropresenta and certifies that he or she has a current net warth of at
Teast Five Million Dollars ($5,000,000,00),

DATED Chia dayof_ 2012,

Printed Naine:
Addresa:

DROMISSORY NOTE WITH PEISONAL OUARANTIES
THR INTRAHATIONAL ane POH TUSTORIC AIRCRAFT TACOVERY
tees J ofa

as/ad/ dat od: Le VaR Qeadgaag VS Document A3-Feag UR MeLAI4 Page 7 0
AUG-3-12 FRI O44 PH FAX HO, fi 04
Printed Name:
Addvess:

Printed Name:
Addroas:

STATE OF )

155

COONTY OF}

This instrument was acknowledged beforo me on the __ day of
, 2012 by ,
Notary Public .
My commission explres:
STATE OM) ,
iS
GOUNTYOF_
This instrument was acknowledged before me on the —. Gay oF
caer OU12 by .
Notary Public
My commission expires: —
STATE OF____. j
188
COUNTY OF)
This instrument was acknowledged before me on the __ day of
— wns 2019 by .
Notary Publis

My commission expires:

PROMISSORY NOTE WITIT PRRRONAL GUAIANTIES
TUR INTERNATIONAL Gnour FOR MEYORIG AMMCRAFT RECOVERY
Ape Ary

i GE 4

About TIGHAR

lof2

Case 1:13-cv-00118-SWS Document 45-3 Filed 06/19/14 Page 8 of 9

THE INSTITUT
FOR AVIATION HISTOR
Preserve, Explore, Luspi

SSO

TIGHAR (pronounced “tiger”} is the acronym for The
International Group for Historic Aircraft Recovery, a C. Graham Berwind II, Fort Lauderdale, Florida
non-profit foundation dedicated to promoting responsible William Carter, Boise, Idaho
aviation archaeology and historic preservation. TIGHAR’s Arthur G. Carty, Wells, Maine
activities include: _ Richard B, Gifford, Aurora, Colorado
Richard E, Gillespie, Wilmington, Delaware
* Compiling and verifying reports of rare and historic Thomas F. King, Ph.D., Silver Spring, Maryland
aircraft surviving in remote areas, Russell E. Matthews, Redondo Beach, California
* Conducting investigations and recovery expeditions in Patricia R. Thrasher, Wilmington, Delaware
co-operation with museums and __ collections
worldwide,
* Serving as a voice for integrity, responsibility, and
professionalism in the field of aviation historic
preservation.

TIGHAR maintains no collection of its own, nor does it

engage in the restoration or buying and selling of artifacts.

The foundation devotes its resources to the saving of Click HERE to view TIGHAR’s most recent Form 990, Return of
endangered historic aircraft wherever they may be found, "Organization Exempt From Income Tax.

and to the education of the international public in the need

to preserve the relics of the history of flight.

Sea ay

Richard E. Gillespie

Born: 1947

Education: B.A. History, 1969, State University of
New York, Oswego

Military: 1970-1973, United States Army officer,
ist Cavalry Div.

Aviation: Commercial Certificate with Instrument
and Multi-Engine Ratings

1973-1984: Aviation accident investigator and risk
manager for the aviation insurance

industry.
January Founded The International Group for
1985: Historic Aircraft Recovery.
January 1985 Executive Director of TIGHAR. Research
to present: management, fundraising, media

relations, and principal author of the
foundation’s newsletter/journal TIGHAR
Tracks,

6/18/2014 11:19 AM

http://AAighar,org/about. htm

Case 1:13-cv-00118-SWS Document 45-3 Filed 06/19/14 Page 9 of 9
About TIGHAR http://tighar.org/about.htm

And as in prospects, we are there pleased most where something
keeps the eye from being lost, and leaves us room to guess; so
here the eye and mind is no less affected with these stately
ruins, than they would have been when standing and entire.
They breed in generous minds a kind of pity, and sets the
thoughts a~work to make out their magnifice as they were
taken in perfection. These remains are “tanquam Tabulata
Nautragii”, that after the revolution of so many years and
governments, have escaped the teeth of Time, and (which is
more dangerous) the hands of mistaken Zeal.

John Aubrey
1697

OTe Te Tee
21) [58 FM NT 0 Lala TTS
ee a a a

Copyright 2013 by TIGHAR, a non-profit foundation. No portion of the TIGHAR Website may be reproduced by
xerographic, pkotegraphie, digital or any other means for any purpose. No portion of the TIGHAR Website may be
Citas” Stored ina retrieval system, copied, transmitted or transferred in any form or by any means, whether electronic,

Sa mechanical, digital, photographic, magnetic or otherwise, for any purpose without the express, written. permission
of TIGHAR, All rights reserved.

Contact us af; info@Hahar.org « Phone: 610.467.1937 » Membership form

20f2 6/18/2014 11:19 AM

